Case 2:11-cr-20551-RHC-MKM ECF No. 880, PageID.3823 Filed 11/02/14 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                      Plaintiff,

 v.                                               CIVIL NO.11-20551-20-DT


 MALIK DABABNEH,

                 Defendant(s).
 __________________________________/


               ORDER GRANTING ATTORNEY STUART SANDWEISS’S
               MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

        This matter has come before the court on the Motion to Withdraw [ Dkt #801]

 filed on July 17, 2014 by attorney Stuart Sandweiss. At the request of the parties, the

 court held numerous hearings on the motion in an attempt to resolve the conflict.

        A final hearing was held on October 31, 2014 and after hearing argument from

 counsel and the defendant and reviewing the affidavit submitted by the defendant, the

 court has determined that there is sufficient reason for Mr. Sandweiss to be permitted

 to withdraw as counsel for the defendant. Therefore,

        IT IS ORDERED for the reasons stated on the record the motion to withdraw is

 GRANTED. The Federal Defender’s Office is directed to appoint new counsel. Upon

 the filing of an appearance by the new attorney, this court will schedule a status

 conference with counsel.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE
Case 2:11-cr-20551-RHC-MKM ECF No. 880, PageID.3824 Filed 11/02/14 Page 2 of 2




 Dated: November 2, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, November 2, 2014, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
